Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 1 of 8

U.S. Department of Justice

Andrew E. Lelling
United States Attorney
District of Massachusetts

 

 

Main Reception: (617) 748-3100 : John Joseph Moakley United States Courthouse
1 Courthouse Way
Suite 9200 .
Boston, Massachusetts 02210

January 28, 2021

Jason G. Benzaken

Benzaken and Wood, LLP
1342 Belmont Street, Suite 102
Brockton, MA 02301

Re: United States v. Kareem Chaplin
Criminal No. 1:20-cr-10136-DJC

Dear Mr. Benzaken:

The United States Attorney for the District of Massachusetts (“the U.S. Attorney”) and your
client, Kareem Chaplin (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure 11(c)(1)(B):

L. Change of Plea

At the earliest practicable date, Defendant will plead guilty to so much of Count One of
the Indictment as charges conspiracy to distribute and possess with intent to distribute cocaine, in
violation of 21 U.S.C. § 846. Defendant admits that he committed the crime specified in this count
and is in fact guilty of it.

2. Penalties

Defendant faces the following mandatory minimum and maximum penalties for Count
One: incarceration for up to 20 years; supervised release for at least three years up to life; a
maximum fine of $1,000,000; a mandatory special assessment of $100; and forfeiture to the extent
charged in the Indictment.

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 2 of 8

3, Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines is 21:

a) Defendant’s base offense level is 22, because Defendant is responsible for
between 400 and 500 grams of cocaine (USSG § 2D1.1(c)(9));

b). Defendant’s offense-level is increased by.2, because Defendant possessed a
firearm in connection with the offense (USSG § 2D1.1(b)(1)); and

c) Defendant’s offense level is decreased by three, because Defendant has
accepted responsibility for Defendant’s crimes (USSG § 3E1.1).

Defendant also agrees that he will not seek any mitigations or reductions based on role at
sentencing.

Defendant understands that the Court is not required to follow this calculation, and that
Defendant may not withdraw his guilty plea if Defendant disagrees with how the Court calculates
the Guidelines or with the sentence the Court imposes.

Defendant also understands that the government will object to any reduction in his sentence
based on acceptance of responsibility if: (a) at sentencing, Defendant (himself or through counsel)
indicates that he does not fully accept responsibility for having engaged in the conduct underlying
each of the elements of the crime(s) to which he is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

If, after signing this Agreement, Defendant’s criminal history score or Criminal History
Category is reduced, the U.S. Attorney reserves the right to seek an upward departure under the
Guidelines.

Nothing in this Plea Agreement affects the U.S. Attorney’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

4, Sentence Recommendation
The parties agree to recommend the following sentence to the Court:

a) incarceration within the Guidelines sentencing range as calculated by the
parties;

b) no fine;

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 3 of 8

c) 36 months of supervised release;

d) amandatory special assessment of $100, which Defendant must pay to the Clerk
of the Court by the date of sentencing; and

e) forfeiture as set forth in Paragraph 6.
5, Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge his conviction and sentence on “direct appeal.” This
means that Defendant has the right to ask a higher court (the “appeals court”) to look at:what
happened in this case and, if the appeals court finds that the trial court or the parties made certain
mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant has
the right to file a separate civil lawsuit claiming that serious mistakes were made in this case and
that his conviction or sentence should be overturned.

Defendant understands that he has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) He will not challenge his conviction on direct appeal or in any other proceeding,
including in a separate civil lawsuit; and

b) He will not challenge his sentence, including any court orders related to
forfeiture, restitution, fines or supervised release, on direct appeal or in any
other proceeding, including in a separate civil lawsuit.

 

Defendant understands that, by agreeing to the above, he is agreeing that his conviction
and sentence will be final when the Court issues a written judgment after the sentencing hearing
in this case. That is, after the Court issues a written judgment, Defendant will lose the tight to
appeal or otherwise challenge his conviction and sentence, regardless of whether he later changes
his mind or finds new information that would have led him not to agree to give up these rights in

the first place.

Defendant acknowledges that he is agreeing to give up these rights at least partly in
exchange for concessions the U.S. Attorney is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that his lawyer rendered ineffective assistance of counsel, or that the prosecutor or a member
of law enforcement involved in the case engaged in intentional misconduct serious enough to
entitle Defendant to have his conviction or sentence overturned.

6. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may

3

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 4 of 8

include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

The assets to be forfeited specifically include, without limitation, the following:

a.

a Smith & Wesson, .40 caliber pistol, model SW40VE, bearing serial number
FXH7412, seized on or about February 28, 2020;

a Smith & Wesson, .38 caliber revolver, Model 60, bearing serial number
R109724, seized on or about February 28, 2020;

a Taurus, .45/410g revolver, model “Judge,” bearing serial number
GZ877312, seized on or about February 28, 2020;

a SigSauer, .40 caliber pistol, model P229, bearing serial number AK 15302,
seized on or about February 28, 2020;

an H&R .22 Long Rifle revolver, model Sportsman Double Action, bearing
serial number 63539, seized on or about February 28, 2020;

a Glock, .40 caliber pistol, model 23, bearing serial number TCW487, seized
on or about February 28, 2020;

three (3) Colt AS caliber rounds of ammunition, seized on or about February
28, 2020;

two (2) .410 caliber rounds of ammunition, seized on or about February 28,
2020;

fifteen (15) .357 caliber rounds of ammunition, seized on or about February
28, 2020;

thirty-two (32) .40 caliber rounds of ammunition, seized on or about February
28, 2020;

twenty-four (24) .38 caliber rounds of ammunition, seized on or about
February 28, 2020;

eighteen (18) 9mm caliber rounds of ammunition, seized on or about February
28, 2020;

thirty-eight (38) .32 caliber rounds of ammunition, seized on or about
February 28, 2020;

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 5 of 8

n. one (1) 7.65 caliber round of ammunition, seized on or about February 28,
2020;

0. sixteen (16) .25 caliber rounds of ammunition, seized on or about February
28, 2020;

p. fifty-two (52) .22 caliber rounds of ammunition, seized on or about February
28, 2020;

q. forty-two (42) 12- “gauge shotgun shells, seized on or about February 28, 2020;

t. twenty (20) rounds of American Eagle .38 caliber ammunition, seized on or
about February 28, 2020;

s. thirty-nine (39) rounds of Remington .40 caliber ammunition, seized on or
about February 28, 2020;

t. one hundred (100) rounds of Remington 9mm ammunition, seized on or about
February 28, 2020; and

u. fifty (50) rounds of Remington .40 caliber ammunition, seized on or about
February 28, 2020.

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense; or they were used to facilitate
Defendant’s offense. Defendant agrees to consent to the entry of orders of forfeiture for such
property and waives the requirements of Federal Rules of Criminal Procedure 11(b)(1)(Q), 32.2,
and 43(a) regarding notice of the forfeiture. in the charging instrument, advice regarding the
forfeiture at the change-of-plea hearing, announcement of the forfeiture at sentencing, and
incorporation of the forfeiture in the judgment. Defendant understands and agrees that forfeiture
shall not satisfy or affect any fine, lien, penalty, restitution, cost of imprisonment, tax liability or
any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or

5

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 6 of 8

has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal: property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets. .

7. Civil Liability

This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to his criminal conduct and guilty plea to the charges
specified in Paragraph 1 of this Agreement.

8. Breach of Plea Agreement

Defendant understands that if he breaches any provision of this Agreement, Defendant
cannot use that breach as a reason to withdraw his guilty plea. Defendant’s breach, however, would
give the U.S. Attorney the right to be released from his commitments under this Agreement, and
would allow the U.S. Attorney to pursue any charges that were, or are to be, dismissed under this
Agreement.

If Defendant breaches any provision of this Agreement, the U.S. Attorney would also have
the right to use against Defendant any of Defendant’s statements, and any information or materials
he provided to the government during investigation or prosecution of his case. The U.S. Attorney
would have this right even if the parties had entered any earlier written or oral agreements or
understandings about this issue.

Finally, if Defendant breaches any provision of this Agreement, he thereby waives any
defenses based on the statute of limitations, constitutional protections against pre-indictment delay,
and the Speedy Trial Act, that Defendant otherwise may have had to any charges based on conduct
occurring before the date of this Agreement.

9. Who is Bound by Plea Agreement

 

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 7 of 8

10. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

* * *

If this letter accurately reflects ‘the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below. as Witness. Return the original of this letter: to Assistant U.S. Attorney Kaitlin R.
O’Donnell.

Sincerely,

ANDREW E. LELLING

Ne Attorney
By: A Lr. (Ue

GLENNA. MACKINLAY
Chief, Organized Crime and Gang Unit”

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TIMOTHY, “MORAN
KAITLIN’R. O7DONNELL
Assistant U.S. Attorney

 
Case 1:20-cr-10136-RGS Document 286 Filed 03/03/21 Page 8 of 8

ACKNOWLEDGMENT OF PLEA AGREEMENT

I have read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United:States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case. I understand the crime to
which I have agreed to plead guilty, the mandatory minimum and maximum penalties for that
offense, and the Sentencing Guideline penalties potentially applicable to it. I am satisfied with the
legal representation provided to me by my attorney. We have had sufficient time to meet and
* discuss my case. We have discussed the:charge against me, possible defenses I might have, the
' terms of this Plea Agreement and whether I should go to trial. I am entering into this Plea
Agreement freely, voluntarily, and knowingly because I am guilty of the offense to which I am

pleading guilty and I believe this Plea Agreement is Lo, interest.
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Win On)

KAREEM CHAPLIN (/
Defendant

Date: uf. auf, P|

I certify that Kareem Chaplin has read this Agreement and that we have discussed what it
means. I believe Kareem Chaplin understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U. S. Attorney has not extended any other offers
to resolve this matter.

 

JASON BENZAKEN
Attorney for Defendant

Date: 2-|26/2

 
